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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   RALEIGH DIVISION


                                                       )
    In re                                              )     Chapter 11
                                                       )
    RANDY P COLEY,                                     )     Case No. 18-02154-5-JNC
    Debtor(s)                                          )
                                                       )     BANKRUPTCY JUDGE
                                                       )     JOSEPH N CALLAWAY




                      REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
                FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

    PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

    Bank (PayPal Smart Connect [Last four digit of account:8788]), a creditor in the above-captioned chapter

    11 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the

    Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C.

    §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given and all

    papers served or required to be served in this case be also given to and served, whether electronically or

    otherwise, on:
                Synchrony Bank
                c/o PRA Receivables Management, LLC
                PO Box 41021
                Norfolk, VA 23541
                Telephone: (877) 829-8298
                Facsimile: (757) 351-3257
                E-mail: claims@recoverycorp.com


    Dated: Norfolk, Virginia
    May 1, 2018
                                                           By: /s/ Valerie Smith
                                                           Valerie Smith
                                                           c/o PRA Receivables Management, LLC
                                                           Senior Manager
                                                           PO Box 41021
                                                           Norfolk, VA 23541
                                                           (877) 829-8298

    Assignee Creditor: PayPal Smart Connect [Last four digit of account:8788]
